     Case 5:06-cr-00009-DCB-JCS         Document 67      Filed 09/01/06     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                                    Criminal No. 5:06CR9DCB-JCS

ANTHONY BUCKHALTER

                                          ORDER

       CAME ON for consideration this date, the Motion of the Government to dismiss

Counts Two and Three of the Indictment, and the Court, being informed in the premises, finds

that Counts Two and Three of the Indictment should be dismissed pursuant to the plea

agreement entered into between the Government and the Defendant in this case.

       IT IS ORDERED that Counts Two and Three of the Indictment are hereby dismissed

with prejudice.

       ORDERED on this, the 31st day of August, 2006.

                                           S/DAVID BRAMLETTE
                                           UNITED STATES DISTRICT COURT JUDGE
                                           DAVID C. BRAMLETTE, III
